Case 2:21-cv-04848-PA-KS Document 108 Filed 05/10/22 Page 1 of 4 Page ID #:2699




   1 QUINN EMANUEL URQUHART
           & SULLIVAN, LLP
   2 Alex Spiro (pro hac vice)
        alexspiro@quinnemanuel.com
   3 Cory D. Struble (pro hac vice)
        corystruble@quinnemanuel.com
   4 51 Madison Avenue, 22nd Floor
     New York, New York 10010
   5 Telephone: (212) 849-7000
     Facsimile: (212) 849-7100
   6
     Robert M. Schwartz (Bar No. 117166)
   7    robertschwartz@quinnemanuel.com
     Dylan C. Bonfigli (Bar No. 317185)
   8    dylanbonfigli@quinnemanuel.com
     865 South Figueroa Street, 10th Floor
   9 Los Angeles, California 90017-2543
     Telephone: (213) 443-3000
  10 Facsimile: (213) 443-3100
  11 Attorneys for Plaintiff
  12                       UNITED STATES DISTRICT COURT
  13        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  14
  15 SHAWN CARTER, also known as Jay-           Case No. 2:21-cv-04848-PA-KS
     Z, an individual,
  16                                            PLAINTIFF’S OPPOSITION TO EX
                  Plaintiff,                    PARTE APPLICATION OF
  17                                            DEFENDANTS JONATHAN
            v.                                  MANNION AND JONATHAN
  18                                            MANNION PHOTOGRAPHY LLC
     JONATHAN MANNION, an                       TO CONTINUE THE MOTION
  19 individual, and JONATHAN                   HEARING CUTOFF DEADLINE
     MANNION PHOTOGRAPHY LLC, a
  20 New York limited liability company,        The Honorable Percy Anderson
  21               Defendants.                  Trial Date:          July 19, 2022
                                                Pretrial Conference: June 17, 2022
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                                 PLAINTIFF’S OPPOSITION TO DEFENDANTS’ EX PARTE APPLICATION
Case 2:21-cv-04848-PA-KS Document 108 Filed 05/10/22 Page 2 of 4 Page ID #:2700




   1         In the wake of this Court’s Order striking Defendants’ Motion for Summary
   2 Judgment based on non-compliance with Local Rule 7-3, Defendants Jonathan
   3 Mannion and Jonathan Mannion Photography LLC have applied ex parte for an
   4 order continuing the motion hearing cutoff date from May 16, 2022 to June 13,
   5 2022. Defendants’ purpose is to enable them to refile the motion for summary
   6 judgment this Court struck after they failed to comply, for the second time, with
   7 Local Rule 7-3. (App. at 1.)
   8         Plaintiff opposes the request. Defendants’ attempt to force a ruling on their
   9 stricken motion fails to satisfy the requirements for the “extraordinary remedy” of ex
  10 parte relief. (Civil Trial Scheduling Order [ECF No. 52] § I.D.)
  11         As Defendants acknowledge, to justify ex parte relief, they must show that:
  12 (1) their “cause will be irreparably prejudiced if the underlying motion is heard
  13 according to regular noticed motion procedures,” and (2) they are “without fault in
  14 creating the crisis that requires ex parte relief, or that the crisis occurred as a result
  15 of excusable neglect.” (App. at 4 (quoting Mission Power Eng’g Co. v. Cont’l Cas.
  16 Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995)).
  17         Defendants have not established “excusable neglect.” Rather, the situation is
  18 of their own making. As this Court explained in striking their motion for summary
  19 judgment, Defendants “failed to comply with Local Rule 7-3 in filing motions to
  20 strike and dismiss (Docket Nos. 24 & 26) and the Court admonished counsel that
  21 future violations of the Local Rules … may result in the imposition of sanctions.”
  22 (ECF No. 106 at 1.) Nevertheless, Defendants again failed to comply with Local
  23 Rule 7-3 before filing their summary judgment motion. (ECF No. 82 at 2.) As a
  24 result, the Court struck the motion pursuant to Local Rule 7-4, which provides that
  25 “[t]he Court may decline to consider a motion unless it meets the requirements of
  26 L.R. 7-3 through 7-8.” (ECF No. 106 at 1.) Given this Court’s prior warning to
  27 Defendants regarding the need to comply with Local Rule 7-3, there can be no claim
  28 of “excusable neglect.”
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                                    PLAINTIFF’S OPPOSITION TO DEFENDANTS’ EX PARTE APPLICATION
Case 2:21-cv-04848-PA-KS Document 108 Filed 05/10/22 Page 3 of 4 Page ID #:2701




   1         In response, Defendants’ lawyers say they did not know of the Court’s prior
   2 Order (ECF No. 28) because they were not then in the case. (Trujillo-Jamison Dec.
   3 [ECF No. 107-1] ¶ 7.) That is not excusable neglect. Counsel are required to
   4 familiarize themselves with the Court’s rules (see, e.g., Standing Order [ECF No.
   5 12] at 1; L.R. 83-2.1.2.2), and the Court’s prior Orders in an action in which they
   6 appear. See, e.g., Hunt v. Kernan, 2008 WL 4390163, at *4 (C.D. Cal. Sept. 10,
   7 2008) (new counsel is “held to the same, unqualified standard as every other counsel
   8 of record, including the requirement that his substitution will not result in any delay
   9 because he has adequately familiarized himself with the complete record”).
  10 Defendants’ claim of excusable neglect thus requires the Court to excuse them also
  11 from complying with their obligation to familiarize themselves with the record when
  12 they took over as lead counsel. But their first instance of neglect hardly excuses
  13 their second (or, in reality, their third).1
  14         Further, Defendants’ counsel are based in Los Angeles and presumably have
  15 experience litigating cases in the Central District. The presence of the pre-filing
  16 meet-and-confer requirement and the need to adhere to it are well-known to all such
  17 attorneys in the community.2
  18                                       CONCLUSION
  19         The Court should deny Defendants’ ex parte application.
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        Moreover, the Court’s Standing Order, which states “READ THIS ORDER
  22 CAREFULLY, IT CONTROLS THE CASE,” advises the parties: “Motions shall be
  23 filed in accordance with Local Rule 7.” (ECF No. 12 at 1, 4.) It further explains
     that Local Rule 7-3 requires counsel to engage in a pre-filing conference ‘to discuss
  24 thoroughly … the substance of the contemplated motion and any potential
  25 resolution.’” (ECF No. 12 at 4 n.1.) That too put counsel on notice as to the need to
     comply with Local Rule 7-3.
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        Defendants likewise fail to cite any authority supporting their claim of prejudice
  27 or articulate a reason why striking a motion for judgment as a matter of law is
  28 cognizable prejudice.
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                                    PLAINTIFF’S OPPOSITION TO DEFENDANTS’ EX PARTE APPLICATION
Case 2:21-cv-04848-PA-KS Document 108 Filed 05/10/22 Page 4 of 4 Page ID #:2702




   1 DATED: May 10, 2022               QUINN EMANUEL URQUHART
                                           & SULLIVAN, LLP
   2
   3                                   By         /s/ Robert M. Schwartz
   4                                           Alex Spiro (pro hac vice)
                                               Robert M. Schwartz
   5                                           Cory D. Struble (pro hac vice)
   6                                           Dylan C. Bonfigli

   7                                        Attorneys for Plaintiff
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                               PLAINTIFF’S OPPOSITION TO DEFENDANTS’ EX PARTE APPLICATION
